107 F.3d 863
    4 Wage &amp; Hour Cas.2d (BNA) 224
    Stanley Platek, Laszlo Varga, Sam McCulloughugh, ThomasHaney, Sr., Mark Rimlinger, Thomas Von Geis, HarryWright, John Malezi, Frank Tripodi, NickRoman, Margaret Burtonv.Duquesne Club, a Pennsylvania Corporation
    NO. 96-3255
    United States Court of Appeals,Third Circuit.
    Feb 05, 1997
    
      Appeal From:  W.D.Pa. ,No.94cv00901 ,
      Bloch, J.
    
    
      1
      Affirmed.
    
    